    Case: 3:22-cv-50433 Document #: 53 Filed: 11/13/24 Page 1 of 3 PageID #:286




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          WESTERN DIVISION

 Bradley Frederick Gummow,

                 Plaintiff,
                                                            Case No.: 22-cv-50433
        v.
                                                            Judge Iain D. Johnston
 Camaron Moneyelle, et al.

                  Defendants.


                       MEMORANDUM OPINION AND ORDER
Plaintiff Bradley Frederick Gummow brings this Amended Complaint (“Complaint”)
pro se against Defendants, four South Beloit Police officers, alleging § 1983
constitutional violations. Defendants moved to dismiss under F.R.C.P. 12(b)(6). For
the reasons below, the Court grants-in-part and denies-in-part Defendants’ Motion.
Background
The Court takes the following allegations from the Complaint and accepts them as
true for the purposes of deciding this Motion.
On September 11, 2021, Gummow had a “verbal dispute” with his neighbor, where
“nothing happened.” Dkt. 47, ¶ 4. Sometime after that, “South Beloit Police” arrived
at Gummow’s home and “demanded he either come outside or open the door.” Id. ¶
5. (It’s unclear from the Complaint if the “Police” include all and only the
Defendants). Gummow refused to allow the Police into his home. Id.
Kicking Gummow’s door in, Id. ¶ 24, Defendants nevertheless entered Gummow’s
home without a warrant. Id. ¶ 6. Gummow objected to Defendants’ presence and
immediately laid on the floor. Id. ¶ 8. Defendants then arrested Gummow for certain
charges. Id. ¶ 8. While doing so and without provocation, Defendants “jointly” kneed,
punched, and tased Gummow. Id. ¶ 9. Afterwards Defendants searched Gummow’s
home without a warrant or consent. Id. ¶ 10. Defendants authored a press release
about the incident that was “false and without factual support.” Id. ¶ 20.
Analysis
Federal Rule of Civil Procedure 8 requires only that a plaintiff’s complaint contain a
“short and plain statement” establishing the basis for the claim and the Court’s
jurisdiction. Fed R. Civ. P. 8(a). A plaintiff will survive a Rule 12(b)(6) motion if the

                                           1
    Case: 3:22-cv-50433 Document #: 53 Filed: 11/13/24 Page 2 of 3 PageID #:287




plaintiff alleges facts sufficient to “state a claim to relief that is plausible on its face.”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The Court accepts all well-
pleaded facts as true and draws all reasonable inferences in favor of the plaintiff.
United States ex rel. Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 839 (7th Cir.
2018). The Court “need not accept as true legal conclusions, or threadbare recitals of
the elements of a cause of action, supported by mere conclusory statements.” Brooks
v. Ross, 578 F.3d 574, 578 (7th Cir. 2009). The moving party bears the burden of
establishing the insufficiency of the plaintiff's allegations. Marcure v. Lynn, 992 F.3d
625, 631 (7th Cir. 2021).
Personal Involvement
First, Defendants argue that Gummow’s Complaint should be dismissed because it
doesn’t identify “which Defendants did what.” Defendants are correct that “[v]auge
references to a group of ‘defendants,’ without specific allegations tying the individual
defendants to the alleged unconstitutional conduct, do not raise a genuine issue of
material fact.” (Grieveson v. Anderson, 538 F.3d 763, 778 (7th Cir. 2008) (emphasis
added). But that’s not the 12(b)(6) standard. And though a court should dismiss a
complaint that doesn’t provide sufficient factual detail to establish personal
responsibility, Bishop v. White, No. 16 C 6040, 2019 U.S. Dist. LEXIS 185769 (N.D.
Ill. Oct. 28, 2019) (citing Wilson v. Warren Cty., Ill., 830 F.3d 464, 469 (7th Cir. 2016),
plaintiffs only need to establish that their claims against each are plausible.
Gummow alleges that four officers were involved in his arrest. Defendants argue
that one of them (Truman) is the police chief and was absent during the incident.
That’s a fact question that the Court can’t credit, but if it’s true it reduces the number
of officers to three. Gummow contends that the Defendants “jointly” kneed, punched,
and tased him, while he was on the ground. It’s unrealistic to expect that Gummow,
at this stage, could pinpoint exactly which of the three or four officers took each
action. Unlike his initial complaint, where apart from the caption Defendants made
no appearance, this Complaint includes numerous references to Defendants’
involvement throughout the claim narration. So, Defendants fail to demonstrate the
Complaint’s insufficiency.
Count I: Excessive Force
The Fourth Amendment permits officers to use only objectively reasonable force when
making an arrest. See Williams v. Brooks, 809 F.3d 936, 944 (7th Cir. 2016); Abbott
v. Sangamon County, Ill., 705 F.3d 706, 724 (7th Cir. 2013) (the reasonableness of the
force used is determined by considering “the facts and circumstances that confronted
the officer” at the time of the incident). Gummow alleges that, while on the ground,
Defendants kneed, punched and tased him. He claims that he posed no threat and
didn’t resist arrest. Based on the pleadings, it’s too early to determine whether
Defendants used reasonable force. So, the Court won’t dismiss Count I.
                                              2
    Case: 3:22-cv-50433 Document #: 53 Filed: 11/13/24 Page 3 of 3 PageID #:288




Count II: False Arrest
Gummow alleges that Defendants had no basis to arrest him. To prevail on this
claim, he must ultimately show that “there was no probable cause for his arrest.”
Neita v. City of Chicago, 830 F.3d 494, 497 (7th Cir. 2016). Gummow claims that he
was in his home at the time of the incident, and Defendants arrested him without
any basis. Whether or not that’s true is a fact question appropriately addressed
through discovery. The Court won’t dismiss the false arrest claim at this early stage.
Gummow also claims, within Count II, that Defendants “acted to release a press
release that was false and without factual support.” He doesn’t provide any other
information, nor substantively respond to Defendants’ Motion. So, to the extent the
press release allegation forms a part of Count II or another, it’s dismissed with
prejudice.
Count III: Destruction of Property
The Fourth and Fourteenth Amendments provide a remedy when a citizen’s property
is unreasonably damaged during a search. Heft v. Moore, 351 F.3d 278, 283 (7th Cir.
2003). Gummow claims that Defendants “destroy[ed] his property when they acted
to kick his door in.” This claim rests on slim, but sufficient allegations. Drawing a
reasonable inference in Gummow’s favor, the Court concludes Gummow plausibly
pleads a destruction of property claim.
Conclusion
For the above reasons, Defendants’ Motion is denied as to all parts except the
allegedly defamatory press release component. That portion of the Complaint is
dismissed with prejudice.



Entered: November 13, 2024                          By:
                                                          Iain D. Johnston
                                                          U.S. District Judge




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